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United States District Court
Southern District of New York                                    7:19-cv-09670

Nancy Housell, individually and on behalf
of all others similarly situated,
                                Plaintiff
                                                            Class Action Complaint
                  - against -

Annie's Homegrown, Inc.,
                                Defendant

       Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


       1.      Annie's Homegrown, Inc. (“defendant”) manufactures, distributes, markets, labels

and sells ice cream products purporting to contain flavor from their natural characterizing flavor,

vanilla under their Annie's Homegrown brand (“Products”).

       2.      The Products purport to contain vanilla ice cream between chocolate wafers (2.3 Fl.

OZ/68 mL) and are sold in packages of twelve (12) are available to consumers nationwide from


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brick and mortar stores, online stores and/or defendant’s website.




I.      Ice Cream Products

        3.     Ice cream is a year-round treat enjoyed by 96% of Americans.1

        4.     Its popularity is attributed “to the perfect combination of elements – sugar, fat, frozen

water, and air – that make up the mouthwatering concoction.”2

        5.     Ice cream is defined by a minimum of 10 percent milkfat, weighing no less than 4.5

pounds to the gallon and containing less than 1.4 % egg yolk solids.3


1
  Arwa Mahdawi, The big scoop: America's favorite ice-cream flavor, revealed, The Guardian, July 11, 2018
2
  Vox Creative, The Reason You Love Ice Cream So Much Is Simple: Science, Eater.com, October 12, 2017.
3
  21 C.F.R. § 135.110(a)(2) (“Ice cream and frozen custard.”).


                                                       2
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        6.      When ice cream has 1.4% or more egg yolk solids as part of its base, it is referred to

as “french ice cream.”4

        7.      According to ice cream lore, Thomas Jefferson supposedly “invented” vanilla ice

cream when he learned of vanilla during his ambassadorship to France and upon returning to

Monticello, mixed this bottle with the frozen milk and cream dessert he was fond of consuming

while drafting the Declaration of Independence.5


II.     Vanilla is Perennial Favorite Ice Cream Flavor

        8.      Vanilla is the consistent number one flavor for 28% of consumers, confirmed two

groups who would know – the International Dairy Foods Association (IDFA) (ice cream

producers) and National Ice Cream Retailers Association (ice cream parlors).

        9.      The reasons for vanilla’s staying power are “not only because it is creamy and

delicious, but also because of its ability to enhance so many other desserts and treats.”6

        10.     By some estimates, approximately two-thirds of “all ice cream eaten is either vanilla

or vanilla with something stirred into it, like chocolate chips.”7

        11.     The applications of vanilla ice cream include its centerpiece between chocolate

wafers (“sandwich”), enrobed in chocolate on a stick (“bar”), topping a warm slice of fresh-baked

pie (“à la Mode”), drizzled with hot fudge and sprinkled with crushed nuts and topped by a

maraschino cherry (“sundae”) or dunked in a cold frothy glass of root beer (“float”).8



4
  21 C.F.R. § 135.110(f)(1).
5
  Thomas Jefferson’s Handwritten Vanilla Ice Cream Recipe, Open Culture, July 13, 2014; Thomas Jefferson’s Vanilla
Ice Cream, Taste of Home, June-July 2012; Thomas Jefferson’s Original Vanilla Ice Cream Recipe, Jefferson Papers,
Library of Congress; Anna Berkes, “Ice Cream” in Thomas Jefferson Encyclopedia, Thomas Jefferson Foundation,
Inc., Monticello.org, June 28, 2013
6
  Press Release, IDFA, Vanilla Reigns Supreme; Chocolate Flavors Dominate in Top Five Ice Cream Favorites Among
Americans, July 1, 2018
7
  Bill Daley (the other one), Which vanilla ice cream is the cream of the crop? We taste test 12 top brands, Chicago
Tribune, July 18, 2018
8
  The True Wonders of Vanilla Ice Cream, FrozenDessertSupplies.com.


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III.    Vanilla is Constantly Subject to Efforts at Imitation Due to High Demand

        12.     The tropical orchid commonly known as “vanilla” does not develop its prized flavor

on its own.

        13.     By law, vanilla refers to the “the total sapid and odorous principles extractable from

one-unit weight of vanilla beans.”9

        14.     Shortly after the passage of the Pure Food and Drugs Act of 1906, E. M. Chace,

Assistant Chief of the Foods Division of the U.S. Department of Agriculture’s Bureau of

Chemistry, noted “There is at least three times as much vanilla consumed [in the United States] as

all other flavors together.”10

        15.     This demand could not be met by the natural sources of vanilla, leading

manufacturers to devise methods to imitate vanilla’s flavor and appearance.

        16.     Though the Pure Food and Drugs Act was enacted to “protect consumer health and

prevent commercial fraud,” this was but one episode in the perpetual struggle against those who

have sought profit through sale of imitation and lower quality commodities, dressed up as the

genuine articles.11

        17.     Daily headlines tell a story of a “resurgent” global threat of “food fraud” – from olive

oil made from cottonseeds to the horsemeat scandal in the European Union.12

        18.     While “food fraud” has no agreed-upon definition, its typologies encompass an ever-



9
  21 C.F.R. §169.3(c)
10
   E. M. Chace, “The Manufacture of Flavoring Extracts,” Yearbook of the United States Department of Agriculture
1908 (Washington, DC: Government Printing Office, 1909) pp.333–42, 333 quoted in Nadia Berenstein, "Making a
global sensation: Vanilla flavor, synthetic chemistry, and the meanings of purity," History of Science 54.4 (2016):
399-424 at 399.
11
   Berenstein, 412; some of the earliest recorded examples of food fraud include unscrupulous Roman merchants who
sweetened wine with lead.
12
   Jenny Eagle, ‘Today’s complex, fragmented, global food supply chains have led to an increase in food fraud’,
FoodNavigator.com, Feb. 20, 2019; M. Dourado et al., Do we really know what’s in our plate?. Annals of Medicine,
51(sup1), 179-179 (May 2019); Aline Wisniewski et al., "How to tackle food fraud in official food control authorities
in Germany." Journal of Consumer Protection and Food Safety: 1-10. June 11, 2019.


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expanding, often overlapping range of techniques with one common goal: giving consumers less

than what they bargained for.

         19.      Vanilla is considered a “high-risk [for food fraud] product because of the multiple

market impact factors such as natural disasters in the source regions, unstable production, wide

variability of quality and value of vanilla flavorings,” second only to saffron in price.13

         20.      The efforts at imitating vanilla offers a lens to the types of food fraud regularly

employed across the spectrum of valuable commodities.14

          Type of Food Fraud                                   Application to Vanilla

     ➢ Cheating on analytical tests           •   Manipulation of the carbon isotope ratios to
        by containing markers                     produce synthetic vanillin with similar carbon
        specifically tested for                   isotope composition to natural vanilla

     ➢ Cheating by giving                     •   Ground vanilla beans and/or seeds to provide visual
        consumers the impression                  appeal as “specks” so consumer thinks they are a
        the food or ingredient is                 result of the product containing real vanilla bean,
        present in greater amounts                when the ground beans have been exhausted of
        and/or higher quality form                flavor, and any vanilla flavor tasted may not even
        than it actually contains                 be due to the presence of real vanilla

     ➢ Substitution or Replacement            •   Tonka beans, which are banned from entry to the
        a food product/ingredient                 United States, instead of vanilla beans
        with an alternate food                •   Coumarin, phytochemical found in Tonka beans, to
        product/ingredient of lower               increase the vanilla flavor perception
        quality

     ➢ Coloring agents to produce a           •   Caramel in vanilla extracts to darken the
        more attractive color                     substance’s color additives like caramel to enhance


13
   Société Générale de Surveillance SA, (“SGS “), Authenticity Testing of Vanilla Flavors – Alignment Between
Source Material, Claims and Regulation, May 2019.
14
   Kathleen Wybourn, DNV GL, Understanding Food Fraud and Mitigation Strategies, PowerPoint Presentation, Mar.
16, 2016.


                                                      5
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                                                      the hue of an imitation vanilla so it more closely
                                                      resembles real vanilla15
                                                 •    Annatto and turmeric in dairy products purporting
                                                      to be flavored with vanilla, to darken the color to
                                                      better resemble the hue of rich, yellow butter

     ➢ Addition of less expensive                •    Synthetically produced ethyl vanillin, derived from
        substitute ingredient to                      wood pulp, tree bark or coal tar
        mimic flavor of more
        valuable component

     ➢ Ingredient list deception16               •    Subtle,    yet      deliberate   misidentification       and
                                                      obfuscation of a product’s components and
                                                      qualities as they appear on the ingredient list –
                                                      “ground vanilla beans” as containing actual vanilla
                                                      flavor when they are devoid of any naturally
                                                      occurring vanilla flavor
                                                 •    “Vanilla With Other Natural Flavor”
                                                        o sold by more knowledgeable flavor suppliers
                                                             to less knowledgeable yet sophisticated
                                                             manufacturers who don’t ask questions
                                                        o flavor companies say “‘trust us, you can call
                                                             this ‘natural flavor’ and label the product as
                                                             ‘vanilla’”
                                                        o flavor          companies       cite     “proprietary”
                                                             formulations and “trade secrets” and fail to
                                                             disclose to their manufacturing customers that
                                                             they have “boosted” the miniscule amount of
                                                             vanilla in Vanilla WONF with a hearty dose


15
   Renée Johnson, “Food fraud and economically motivated adulteration of food and food ingredients." Congressional
Research Service R43358, January 10, 2014.
16
   Recent example of this would be “evaporated cane juice” as a more healthful sounding term to consumers to identify
sugar


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                                                         of vanillin, in violation of law, to mislead
                                                         consumers
                                                    o flavor suppliers do not disclose that vanilla
                                                         combined with vanillin and some “natural
                                                         flavors” is required to state “artificial flavor”
                                                    o Manufacturers        are     receptive   to   flavor
                                                         manufacturers’ calculated silence because
                                                         consumers want to see the words “vanilla” and
                                                         “natural” on the labels

     ➢ Diluting/Extending                    •    Combination with flavoring substances such as
                                                  propenyl guaethol (“Vanitrope”), a “flavoring agent
                                                  [, also] unconnected to vanilla beans or vanillin, but
                                                  unmistakably producing the sensation of vanilla”17

                                             •    “Spiking” or “fortification” of vanilla through
                                                  addition of natural flavors including vanillin, which
                                                  simulates vanilla taste but obtained from tree bark

      ➢ Compounding – “to mix                •    “Flavor Compounding Is a Skilled Art and Science
          flavor materials together at            Designed to Produce a Flavor Perception That
          a special ratio in which                Seems to be Authentic or at Least Derived from a
          they [sic] compliment each              Natural Source”19
          other to give the desirable        •    What has changed?
          aroma and taste.”18                       o Then (1911): The “public should clearly
                                                         understand” that flavor combinations such as
                                                         “vanilla    and     vanillin…vanilla       flavor
                                                         compound,” etc., are not “vanilla [extract] no
                                                         matter what claims, explanations or formulas



17
   Berenstein, 423.
18
   Chee-Teck Tan, "Physical Chemistry in Flavor Products Preparation: An Overview" in Flavor Technology, ACS
Symposium Series, Vol. 610 1995. 1-17.
19
   Charles Zapsalis et al., Food chemistry and nutritional biochemistry. Wiley, 1985, p. 611.


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                                                               are given on the label.”20
                                                          o Now (2018): According to the head of “taste
                                                               solutions” at global conglomerate Kerry, “The
                                                               challenge is to find a vanilla flavor that
                                                               matches the taste of pure vanilla natural
                                                               extracts.”21
                                                                     ▪   The solution?
                                                                     ▪   “[G]et creative” and “build a
                                                                         compounded vanilla flavor with
                                                                         other natural flavors”
                                                                     ▪   “This solution can provide the same
                                                                         vanilla    taste   expectation   while
                                                                         requiring a smaller quantity of
                                                                         vanilla beans. The result is a greater
                                                                         consistency in pricing, availability
                                                                         and quality.”


IV.        What Consumers Expect from Ice Cream Labeling

           21.      To prevent deception of consumers, the framework for ice cream labeling has

provided for a system for designating characterizing flavors based on three categories.

           22.      These categories are based on the

                 (i)     use of natural and various combinations of natural and artificial flavors that
                         characterize this food;

                 (ii)    source(s) of the characterizing flavor;

                 (iii)   flavor which predominates;

                 (iv)    amount of each flavor component in the product; and




20
     Kansas State Board of Health, Bulletin, Vol. 7, 1911, p. 168.
21
     Donna Berry, Understanding the limitations of natural flavors, BakingBusiness.com, Jan. 16, 2018.


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               (v)   percent of the total flavor component represented by a flavor component.22


     A. Natural and Artificial Flavor in Ice Cream Products23

         23.     In ice cream, “natural flavor” refers only to a natural characterizing flavor

         24.     For example, in vanilla or strawberry ice cream, the natural flavor would be “vanilla”

or “strawberry” because these ingredients characterize the ice cream product.

         25.     Outside of the ice cream context, “natural flavor” refers to “the essential oil,

oleoresin, essence or extractive…which contains the flavoring constituents” from a natural source

such as plant material and can refer to combinations of natural flavors.24

         26.     “Artificial flavor” in ice cream includes (1) a flavor not derived from the

characterizing flavor, even if obtained from natural sources and made through natural processes

and (2) a flavor not derived from the characterizing flavor that is used to simulate the characterizing

flavor. 25

         27.     This application of “natural flavor” and “artificial flavor” is unique to ice cream

products, as opposed to non-ice cream products covered under the general flavor labeling

regulations at 21 C.F.R. § 101.22.26

         28.     Even the manner in which the ice cream flavor is designated is different compared

to what is required under the general flavoring regulations.

         29.     One of the reasons for these different requirements is because ice cream is a high

quality and expensive product made mainly from milk and cream.



22
   21 C.F.R. § 135.110(f)(2)(i)-(iii); 21 C.F.R. § 135.110(f)(3)-(5).
23
   Numerous advisory opinions and official guidance documents which have been unamended, unrevoked and
unmodified.
24
   21 C.F.R. § 101.22(a)(3).
25
   Compare 21 C.F.R. § 101.22 (natural flavor) with 21 C.F.R. § 169.175 (Vanilla extract.) and § 169.177 (Vanilla
flavoring.).
26
   See 21 C.F.R. §135.110(f)(2)(i) (no provision for natural flavors other than the “[natural] characterizing flavor”).


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       30.    When consumers purchase such a product, they will expect the ingredient which

characterizes the ice cream – strawberry, vanilla, chocolate – will be the source of the food’s flavor.

       31.    Where ice cream has flavor added from sources other than the characterizing

ingredient, consumers deserve to be informed of this information to avoid being misled.

       32.    Consumers rely on the front labels of products to present information in a

straightforward, non-deceptive way.

       33.    Where an ice cream is represented on the front label with an unqualified name of the

natural characterizing flavor, viz, “vanilla,” followed by the term “ice cream,” yet contains flavor

not derived from that characterizing flavor, such a front label designation of “vanilla” would be

inconsistent with law and misleading to consumers.


   B. Category 1 Ice Cream Products

       34.    For decades, consumers have expected products labeled as vanilla ice cream to be

exclusively flavored by real vanilla derived from the vanilla plant and contain a sufficient amount

of vanilla to characterize the food.

       35.    This requirement is contained at 21 C.F.R. §135.110(f)(2)(i), which states that where

an ice cream “contains no artificial flavor, the name on the principal display panel or panels of the

label shall be accompanied by the common or usual name of the characterizing flavor, e.g.,

‘vanilla,’ in letters not less than one-half the height of the letters used in the words ‘ice cream’”

and expressed in the following form:

       [“characterizing flavor”] + [“ice cream”] → “Vanilla Ice Cream” or “Strawberry
       Ice Cream.” (“Category 1”).

       36.    Because ice cream is a standardized food and the vanilla ingredients are subject to

their own standards, the designation of the vanilla flavoring is controlled by 21 U.S.C. §343(g):

               A food shall be deemed to be misbranded –


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                    (g) Representation as to definition and standard of identity

                    If it purports to be or is represented as a food for which a definition and standard of
                    identity has been prescribed by regulations as provided by section 341 of this title,
                    unless (1) it conforms to such definition and standard, and (2) its label bears the
                    name of the food specified in the definition and standard, and, insofar as may be
                    required by such regulations, the common names of optional ingredients (other than
                    spices, flavoring, and coloring) present in such food.

           37.    This means that where an ice cream characterized by a vanilla and does not contain

artificial flavor, its ingredient list is required to bear “the common names of optional ingredients

(other than spices, flavoring, and coloring) present in such food.”27

           38.    For vanilla ice cream, the common names of these flavorings include Vanilla Extract,

Concentrated Vanilla Extract, Vanilla Flavoring and Concentrated Vanilla Flavoring, specified in

the regulations for vanilla ingredients. See 21 C.F.R. §§ 169.175 to 169.178.


       C. Category 2 Ice Cream

           39.    If an ice cream contains a natural characterizing flavor (i.e., vanilla) and an artificial

flavor simulating it, and if the natural flavor predominates, a non-misleading label would be

expressed in the following form:

           [“characterizing flavor”] + [“flavored”] + [“ice cream”] → “Vanilla Flavored Ice
           Cream” or “Peach Flavored Ice Cream.” (“Category 2”).

           See 21 C.F.R. §135.110(f)(2)(ii).

       D. Category 3 Ice Cream

           40.    If an ice cream contains a natural characterizing flavor and an artificial flavor

simulating it, and if the artificial flavor predominates, or if only artificial flavor is used, a non-

misleading label would be expressed in the following form:

           [“artificial” or “artificially flavored”] + [“characterizing flavor”] + [“ice cream”]
           → “Artificially Flavored Vanilla Ice Cream” or “Artificially Flavored Strawberry


27
     21 U.S.C. § 343(g)(2) read with 21 C.F.R. § 135.110(f)(2)(i) and 21 C.F.R. §§ 169.175 – 169.178.


                                                          11
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       Ice Cream.” (“Category 3”).

       See 21 C.F.R. §135.110(f)(2)(iii).

V. The Products are Misleading Because they Lack Sufficient Vanilla


       41.    The Products are misleading because they do not contain the amount, type and

percentage of vanilla as a component of the flavoring in the product which is required and

consistent with consumer expectations.

       42.    The front label statements of “Vanilla Ice Cream” and “Organic Vanilla Ice Cream,”

shown in the below statement of identity and on the front label, are understood by consumers to

identify a product where the characterizing flavor is vanilla, which contains a sufficient amount of

vanilla and the flavor is supplied only from the vanilla plant.

                 Organic Vanilla Ice Cream between Organic Chocolate Wafers




       43.    The representations of “vanilla ice cream” are unqualified and the labels and

packaging do not disclose the addition of non-vanilla flavors as part of the Products.

       44.    The Product’s front label is misleading because it lacks any indication it is “flavored”

– “naturally flavored” or “artificially flavored” – which gives consumers the impression they only

contain flavor from the natural characterizing flavor of vanilla.



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         45.   In fact, the front label furthers the deception by explicitly stating the Product does

not contain any artificial flavors through the following label image.



                                                  •   Made with Goodness!
                                                  •   No Flavors, Colors or Preservatives from
                                                      Artificial Sources
                                                  •   Made with Organic Milk and Cream
                                                  •   No High Fructose Corn Syrup



         46.   Reasonable consumers who are expecting real vanilla ice cream are not satisfied

“with Goodness” as a substitute for enough vanilla.


      A. Ingredient Lists Reveal Products Contain Flavoring Not from Vanilla


         47.   The Products’ vanilla ice cream is not flavored only by vanilla, but contains flavors

derived from non-vanilla sources, which is misleading to consumers.

         48.   This is revealed through the ingredient list indicating the Product contains

“ORGANIC NATURAL FLAVOR.”




 INGREDIENTS: ORGANIC VANILLA ICE CREAM: ORGANIC SKIM MILK, ORGANIC
 CREAM, ORGANIC SUGAR, CONTAINS LESS THAN 2% OF ORGANIC NATURAL
 FLAVOR, ORGANIC CAROB BEAN GUM, ORGANIC GUAR GUM, PECTIN, ORGANIC
 SUNFLOWER LECITHIN.

VI.      “Natural Flavor” Refers to an Ingredient That May Contain Vanilla, But Also Contains
         Non-Vanilla Flavor Compounds

         49.   Where a product purports to have a characterizing flavor of vanilla but the ingredient



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list identifies “natural flavor” as the exclusive flavoring ingredient or as one among such flavoring

ingredients, it means (1) the flavoring in the food or beverage is not exclusively vanilla and (2) the

product contains non-vanilla flavors obtained from natural sources other than vanilla beans and

made through natural processes.28


     A. “Natural Flavor” is not a Synonym for Expected Vanilla Ingredients

         50.    Defendant’s listing of “natural flavor” is not another way to refer to the exclusively

vanilla flavoring ingredients that consumers expect, and the law requires.

         51.    These exclusively vanilla ingredients – vanilla flavoring, vanilla extract, etc. – differ

only in that the former is at least thirty-five (35) percent ethyl alcohol while the latter is less than

this amount.29

         52.    If the Products contained any of the exclusively vanilla ingredients, there would not

be a need to declare or identify “Natural Flavor” in the ingredient list.

         53.    Additionally, it would be illogical to use a more expensive and higher quality

ingredient (vanilla extract or vanilla flavoring) but designate it with a vague term perceived less

favorably by consumers due to its opaque components, lower cost and ubiquity.


     B. Natural Flavor does not refer to the Standardized Vanilla-Vanillin Ingredients

         54.    The vanilla standards reference three vanilla-vanillin combinations – Vanilla-vanillin

extract, Vanilla-vanillin flavoring and Vanilla-vanillin powder.30

         55.    The standardized vanilla ingredients – vanilla extract, vanilla flavoring, concentrated


28
   These natural processes may include fermentation but when high heat and high pressure is used, the FDA considers
this to be a synthetic method of obtaining a flavor. This “natural” process of high heat and high pressure is used to
obtain vanillin from the non-vanilla material of eugenol, the main component of clove oil. Vanillin derived from
eugenol through a high heat and high pressure process is not considered “natural vanillin” which makes its addition
to the “WONF” part of “Vanilla WONF” misleading.
29
   21 C.F.R. §§ 169.175 (Vanilla extract.), 169.177 (Vanilla flavoring.); also concentrated versions of each of these.
30
   21 C.F.R. § 169.180, § 169.181, § 169.182.


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vanilla flavoring, and vanilla powder – could be understood as complying with the requirements

for “natural flavor” even though they are required to be designated by their common or usual

names on the ingredient list.31

         56.    However, the “vanillin” referred to in the standardized combination ingredients is

produced from non-vanilla bean materials, like wood pulp, coal tar, eugenol, lignin or plant fiber.

         57.    While vanillin is a main flavoring component of vanilla, only 1-2% of vanillin in

commercial use is vanillin obtained from the vanilla plant.

         58.    This type of “natural vanillin” is rarely produced, which means that almost all

vanillin is synthetically produced and has no connection to the vanilla bean.

         59.    The labeling and disclosure for a vanilla-vanillin combination ingredient would be

controlled not by the general flavoring regulations but by the vanilla standards.

         60.     These ingredients require that on the ingredient list, vanilla be “followed

immediately by the statement ‘contains vanillin, an artificial flavor (or flavoring),’” even if the

vanillin is made from natural materials and through a natural process 32

         61.    If a product made with a vanilla-vanillin combination ingredient represented that its

characterizing flavor was vanilla, its front label would be required to declare the presence of

vanillin and/or artificial flavor(s).

         62.    These requirements prevent consumers from being misled by products which

“boost,” “fortify” or “spike” a miniscule amount of real vanilla with the addition of vanillin, from

non-vanilla sources such as tree bark, eugenol and lignin.

         63.    Without any conspicuous disclosure of how much flavor in a product is derived from



31
   21 C.F.R. § 169.175 (Vanilla extract.), § 169.176 (Concentrated vanilla extract.), § 169.177 (Vanilla flavoring.), §
169.178 (Concentrated vanilla flavoring.) and § 169.179 (Vanilla powder.).
32
   See 21 C.F.R. § 169.180(b), § 169.181(b), § 169.182(b).


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real vanilla as opposed to vanillin, consumers would pay more money for products that may taste

like vanilla even though the taste is not derived from vanilla beans.

           64.     For the purposes of ice cream flavor labeling, vanillin (from non-vanilla sources)

cannot be designated as a “natural flavor” because it implies it derives from vanilla beans, whose

flavor it simulates.33

           65.     This applies even when vanillin is produced through a natural process (fermentation),

such that it is properly designated as “vanillin derived naturally through fermentation.”

           66.     This means if a vanilla flavor is derived from any source other than vanilla, it is

accurately designated as an artificial flavor.34

           67.     Therefore, the standardized vanilla-vanillin combination ingredients are not the

ingredients used in the Products but for some reason, designated as “natural flavor.”


       C. “Natural Flavor” May Refer to “Vanilla with Other Natural Flavors” (“Vanilla WONF”)

           68.     A typical ingredient used when giving consumers less vanilla than they are expecting

and entitled to is “Vanilla With Other Natural Flavors” or “Vanilla WONF.”

           69.     When adding complicated flavors to a product, a flavor supplier typically mixes

various flavors together into one package, for reasons including convenience and processing.

           70.     Since vanilla is the world’s second most valuable flavor ingredient, flavor suppliers

and the companies they work with are continually exploring new ways to increase profits at the

margins, at the expense and to the detriment of consumers and in violation of law.

           71.     By formulating a flavor ingredient that includes an unspecified amount of vanilla –

likely less than half – and compounding, extending and/or diluting it with “other natural flavors,”



33
     21 C.F.R. § 101.22(a)(3)
34
     In contrast to the regulations at 21 C.F.R. § 101.22.


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or flavors not derived from vanilla, they can plausibly call this ingredient “Vanilla With Other

Natural Flavors.”

         72.    No standardized vanilla ingredients provide for “other natural flavors” to be added

with a vanilla flavoring or vanilla extract because this would result in the spiking or fortification

of the vanilla flavor.

         73.    On the Product’s ingredient lists, “Vanilla WONF” is likely designated through the

term “Natural Flavor.”35

         74.    In an ice cream represented as flavored only from the characterizing flavor, it is:36

                  1. deceptive and unlawful to include flavoring that is not derived from the

                       characterizing flavor, vanilla; and

                  2. misleading and unlawful to simulate, reinforce and “extend” the taste of vanilla

                       through “Natural Flavor” because consumers will:

                            i.      think they received more real vanilla than they actually did;

                           ii.      expect all of the vanilla flavor or taste imparted by the Products to be

                                    from vanilla; and

                          iii.      pay more for such product.


VII.     French Vanilla Ice Cream Products are Misleading Because They are Labeled and Named
         Similar to Other Products

         75.    Competitor brands to defendant’s French Vanilla Ice Cream Products are labeled as

or containing vanilla ice cream and are not misleading because they do not contain non-vanilla

flavoring.



35
   The natural flavor as part of the vanilla ice cream component is distinct from any natural flavor that may be used in
the inclusions such as the chocolate chips or cookie dough.
36
   21 C.F.R. § 135.110(f)(2)(i).


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   A. Vanilla Ice Cream Sandwich of Competitor and Defendant

       76.    The following is an example of a Vanilla Ice Cream Sandwich of defendant and a

competitor product.

                 Competitor Product                                  Product




       77.    The ingredients in the Competitor Product and Product are presented below.

                                                    Ingredients



 Competitor
 Product
                      INGREDIENTS: ICE CREAM: MILK, CREAM, CANE SUGAR, EGG
                      YOLKS, VANILLA EXTRACT, GUAR GUM, LOCUST BEAN GUM.


 Product




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                       INGREDIENTS: ORGANIC VANILLA ICE CREAM: ORGANIC SKIM
                       MILK, ORGANIC CREAM, ORGANIC SUGAR, CONTAINS LESS
                       THAN 2% OF ORGANIC NATURAL FLAVOR, ORGANIC CAROB
                       BEAN GUM, ORGANIC GUAR GUM, PECTIN, ORGANIC
                       SUNFLOWER LECITHIN.


         78.    The competitor product lists “Pure Vanilla Extract” on its ingredient list and does not

indicate the presence of other flavors not derived from vanilla, such as “Natural Flavor,” as listed

in defendant’s Products.


     B. Misleading to Have Identical or Similar Product Names Where Significant Differences in
        Product Quality or Composition

         79.    Product names for ice cream are established through application of the relevant

regulations.

         80.    This product naming framework is intended to ensure that products of different

quality, i.e., one product contains a greater amount, type and/or proportion of a characterizing and

valuable ingredient, are not named in such a way that the consumer will be deceived into

purchasing the lower quality product under the false impression that it contains the equivalent

amount of said ingredients or components. See 21 C.F.R. § 135.110(f) and 21 C.F.R. § 102.5(a)

(“General principles.”).37

         81.    Defendant’s Product is misleading because it is represented as identical to another

product which contains higher quality ingredients, which causes consumers to be misled and

purchase the former expecting the two products to be identical in quality and fill.


VIII.    Conclusion



37
  “The name shall be uniform among all identical or similar products and may not be confusingly similar to the name
of any other food that is not reasonably encompassed within the same name. Each class or subclass of food shall be
given its own common or usual name that states, in clear terms, what it is in a way that distinguishes it from different
foods.”


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        82.   The proportion of the characterizing component, vanilla, has a material bearing on

price or consumer acceptance of the Products because it is more expensive and desired by

consumers.

        83.   Had Plaintiff and Class members known the truth about the Products, they would not

have bought the Product or would have paid less for it.

        84.   The Products contain other representations which are misleading and deceptive.

        85.   As a result of the false and misleading labeling, the Products are sold at premium

prices, approximately no less than (1) $5.89, per 12 units contained in one package, excluding tax

– compared to other similar products represented in a non-misleading way.

                                      Jurisdiction and Venue


        86.   Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2).

        87.   Upon information and belief, the aggregate amount in controversy is more than

$5,000,000.00, exclusive of interests and costs.

        88.   This court has personal jurisdiction over defendant because it conducts and transacts

business, contracts to supply and supplies goods within New York.

        89.   Venue is proper because plaintiff and many class members reside in this District and

defendant does business in this District and State.

        90.   A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                                   Parties

        91.   Plaintiff Nancy Housell is a citizen of Orange County, New York.

        92.   Defendant is a Delaware corporation with a principal place of business in

Minneapolis, Hennepin County, Minnesota.



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       93.    During the class period, Plaintiff purchased one or more of the Products identified

herein for personal use, consumption or application based on the above representations, for no less

than the price indicated, supra, excluding tax, within their districts and/or states.

       94.    Plaintiff would consider purchasing the Products again if there were assurances that

the Products’ representations were no longer misleading.

                                          Class Allegations


       95.    The classes will consist of all consumers in all 50 states with sub-classes for the

individual states and nationwide classes.

       96.    Plaintiff will represent her New York state sub-class of persons who purchased any

Products containing the actionable representations during the statutes of limitation.

       97.    Common questions of law or fact predominate and include whether the

representations were likely to deceive reasonable consumers and if Plaintiff and class members are

entitled to damages.

       98.    Plaintiff’s claims and the basis for relief are typical to other members because all

were subjected to the same representations.

       99.    Plaintiff is an adequate representative because her interests do not conflict with other

members.

       100. No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       101. Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest.




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       102. Plaintiff’s counsel is competent and experienced in complex class action litigation

and intends to adequately and fairly protect class members’ interests.

       103. Plaintiff seeks class-wide injunctive relief because the practices continue.

                           New York General Business Law (“GBL”) §§ 349 & 350
                        and Consumer Protection Statutes of Other States and Territories

       104. Plaintiff asserts causes of action under the consumer protection statutes of New York,

General Business Law (“GBL”) §§ 349 & 350.

       105. Defendant’s acts and omissions are not unique to the parties and have a broader

impact on the public.

       106. Plaintiff and class members desired to purchase products which were as described

by defendant and expected by reasonable consumers, given the product type.

       107. Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because (1) it gives the impression to consumers the Products are only flavored by the

characterizing ingredient and contains more of the characterizing ingredient than they actually do,

(2) the ingredient list fails to dispel ambiguity and reinforces the front-label impression as to a

greater amount of the characterizing ingredients (3) it does not conspicuously disclose the presence

of artificial flavors on one of the Products identified here.

       108. Plaintiff and class members relied on the representations and omissions, paying more

than they would have, causing damages.

                                        Negligent Misrepresentation

       109. Plaintiff incorporates by reference all preceding paragraphs.

       110. Defendant misrepresented the substantive, quality, compositional, organoleptic

and/or nutritional attributes of the Products through representing the characterizing ingredient was

present in greater amount and proportion than it was and affirmatively representing the Products



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was flavored only by this ingredient or component.

       111. Defendant had a duty to disclose and/or provide non-deceptive labeling of the

Products and knew or should have known same were false or misleading.

       112. This duty is based on defendant’s position as an entity which has held itself out as

having special knowledge and experience in the production, service and/or sale of the product or

service type.

       113. The representations took advantage of consumers’ (1) cognitive shortcuts made at

the point-of-sale and (2) trust placed in defendant, a well-known and respected brand in this sector.

       114. Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, the purchase of the

Products.

       115. Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

             Breaches of Express Warranty, Implied Warranty of Merchantability and
                   Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       116. Plaintiff incorporates by reference all preceding paragraphs.

       117. Defendant manufactures and sells products which contain the identified

characterizing ingredients and/or flavors which are desired by consumers.

       118. The Products warranted to Plaintiff and class members that they possessed

substantive, functional, nutritional, qualitative, compositional, organoleptic, sensory, physical and

other attributes which they did not.

       119. Defendant’s front labels informed and warranted to Plaintiff the Products contained

only the characterizing ingredients to impart flavor, and that they were present in amounts

sufficient to independently characterize the food and that the flavor imparted to the Products was



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a result of the food ingredients and not “natural flavors,” “other natural flavors” or “artificial

flavors.”

        120. Defendant had a duty to disclose and/or provide a non-deceptive description of the

Products flavoring on the front labels and knew or should have known same were false or

misleading.

        121. This duty is based, in part, on defendant’s position as one of the most recognized

companies in the nation in this sector.

        122. Plaintiff provided or will provide notice to defendant and/or its agents,

representatives, retailers and their employees.

        123. The Products did not conform to their affirmations of fact and promises due to

defendant’s actions and were not merchantable.

        124. Plaintiff and class members relied on defendant’s claims, paying more than they

would have.

                                              Fraud


        125. Plaintiff incorporates by references all preceding paragraphs.

        126. Defendant’s purpose was to sell products which purported to contain valuable and

desired characterizing ingredient(s) or flavor(s), and represent the Products were exclusively or

predominantly flavored from that ingredient and contained sufficient independent amounts of

same.

        127. The Products were not flavored exclusively from the characterizing ingredient but

from flavor compounds blended together and labeled as “natural flavor.”

        128. Defendant’s fraudulent intent is evinced by its failure to accurately indicate the

Products contained flavor from non-vanilla sources on the front label, because it knows consumers



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prefer foods that are flavored from food ingredients instead of added flavor ingredients and contain

enough of the characterizing food ingredients to flavor the Products.

       129. Defendant’s intent was to secure economic advantage in the marketplace against

competitors by appealing to consumers who value products with sufficient amounts of the

characterizing ingredients for the above-described reasons.

       130. Plaintiff and class members observed and relied on defendant’s claims, causing them

to pay more than they would have, entitling them to damages.

                                           Unjust Enrichment

       131. Plaintiff incorporates by references all preceding paragraphs.

       132. Defendant obtained benefits and monies because the Products were not as

represented and expected, to the detriment and impoverishment of plaintiff and class members,

who seek restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove and/or refrain from the challenged representations, restitution

       and disgorgement for members of the State Subclasses pursuant to the consumer protection

       laws of their States;

   4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

       to the common law and consumer protection law claims, and other statutory claims;


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   5. Awarding costs and expenses, including reasonable fees for plaintiff’s attorneys and

      experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: October 18, 2019
                                                              Respectfully submitted,

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7:19-cv-09670
United States District Court
Southern District of New York

Nancy Housell, individually and on behalf of all others similarly situated


                                         Plaintiff


        - against -


Annie's Homegrown, Inc.
                                         Defendant




                                   Class Action Complaint


                             Sheehan & Associates, P.C.
                              505 Northern Blvd., #311
                                Great Neck, NY 11021
                                Tel: (516) 303-0552
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Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: October 18, 2019
                                                                         /s/ Spencer Sheehan
                                                                          Spencer Sheehan
